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                                UNITED STATES DISTRICT COURT
  7
                               CENTRAL DISTRICT OF CALIFORNIA
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 10   SHANE MONROE BOWDEN,                          Case No. LACV 20-8894-VBF (LAL)

 11                                Petitioner,      JUDGMENT
 12                       v.

 13   GEORGE JAIME,

 14                                   Respondent.

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 16
 17         IT IS ADJUDGED that the Petition is dismissed with prejudice.
 18
      DATED: September 28, 2021                               /s/ Valerie Baker Fairbank
 19                                                   ____________________________________
 20                                                     HON. VALERIE BAKER FAIRBANK
                                                        UNITED STATES DISTRICT JUDGE
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